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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

     AVELINO ABEIJON, individually,

             Plaintiff,

     v.                                                   CASE NO.:

     AKAL SECURITY, INC., a Foreign Profit Corporation,
     DOYON GOVERNMENT CONTRACTING, INC.,
     a Foreign Profit Corporation,

           Defendants.
     ___________________________________________

                          COMPLAINT AND DEMAND FOR JURY TRIAL

             Plaintiff, Avelino Abeijon, brings this action and complaint for damages and

     demand for jury trial against Defendants, Akal Security, Inc. (“Akal”) and Doyon

     Government Contracting, Inc. (“Doyon”) (collectively “Defendants” or “Doyon Akal

     JV”).

             1.      Plaintiff, a Cuban Caucasian male of Hispanic ancestry, brings these claims

     for race, ancestry, and national origin discrimination and retaliation against his former

     employer, Doyon and Akal, who discriminated/retaliated against, harassed, and made him

     endure a hostile work environment because of his race, ancestry and national origin, in

     violation of the Florida Civil Rights Act, Chapter 760 Fla. Stat. (“FCRA”), Title VII of the

     Civil Rights Act of 1964, as amended. 42 U.S.C. § 2000e et seq. (“Title VII”) and 42 U.S.C.

     § 1981 (“Section 1981”). Plaintiff is seeking damages including back pay, front pay,

     compensatory damages, punitive damages and his attorneys’ fees and costs.

                                          JURISDICTION

             2.      This Court has original jurisdiction over Plaintiff’s Title VII and Section
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     1981 claims pursuant to 28 U.S.C. §§ 1331 because these claims arise under 41 U.S.C. §

     2000e et seq. and 42 U.S.C. § 1981.        The Court has supplemental jurisdiction over

     Plaintiff’s FCRA claims pursuant to 28 U.S.C. § 1367 as these claims are so related to

     Plaintiff’s Title VII and Section 1981 claims that they form part of the same case or

     controversy.

                                              VENUE

            3.      Venue is proper in this Court pursuant to 28 U.S.C. Section 1391(b)

     because a substantial part of the events or omissions giving rise to the claims occurred

     within the Southern District of Florida, Defendants conduct substantial and not isolated

     business within the Southern District of Florida, and Defendants have agents and

     employees in the Southern District of Florida.

                                                 PARTIES

            4.      Plaintiff, Avelino Abeijon, is a United States citizen, a resident of the

     State of Florida, and resides in Miami-Dade County, Florida. Plaintiff is a male of

     Caucasian Hispanic race/ancestry and Cuban national origin. Plaintiff was formerly

     employed by and worked for Doyon and Akal, a joint venture conducting business in

     Miami Dade County, Florida as “Doyon Akal JV” under a contract with the U.S.

     Immigration & Customs Enforcement (“ICE”) to run the security at the Krome Detention

     Center. Plaintiff is protected by the FCRA, Title VII and Section 1981 because:

                    a.     He is of Cuban national origin;

                    b.     He is a Caucasian of Hispanic Race and Ancestry;

                    c.     He engaged in protected activity; particularly, he suffered

     discrimination, harassment, and a hostile work environment because of his national origin



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     and race/ancestry;

                    d.      He objected to Defendants’ unlawful behavior and adverse

     employment actions; and

                    e.      Nothing was done to rectify any of the Defendants’ discrimination,

     hostile work environment, adverse employment actions, or retaliation;

                    f.      As a result of Plaintiff’s objection to the illegal discrimination,

     Defendants further discriminated and/or retaliated against Plaintiff and terminated his

     employment.

            5.      Defendant, Akal Security, Inc. is a nationwide provider of private,

     commercial and government security solutions. Akal is a foreign profit corporation that

     has its principal place of business in New Mexico. Akal carries out substantial and not

     isolated business activities in the Southern District of Florida.

            6.      Akal employed more than 15 employees and was at all relevant times an

     “employer” as envisioned by Title VII and FCRA.

            7.      Akal was Plaintiff’s employer as envisioned by Title VII and FCRA.

            8.      Defendant, Doyon Government Contracting, Inc. is a certified contractor that

     specializes in providing security, construction, logistic and financial management services

     and support to federal, state, local government agencies, and commercial entities. Doyon is

     a foreign profit corporation that has its principal place of business in Alaska. Doyon carried

     out substantial and not isolated business activities and has employees and agents in the

     Southern District of Florida.

            9.      Doyon employed more than 15 employees and was at all relevant times an

     “employer” as envisioned by Title VII and FCRA.



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            10.      Doyon and Akal combined to form a joined venture called Doyon Akal JV.

            11.      Doyon and Akal were, at all relevant times, a joint employer and/or

     integrated enterprise and/or in an agency relationship.

            12.      At all relevant times, Doyon was Plaintiff’s employer as envisioned by Title

     VII and FCRA.

            13.      At all relevant times, Akal was Plaintiff’s employer as envisioned by Title

     VII and FCRA.

                                    CONDITIONS PRECEDENT

            14.      Plaintiff duel-filed charges of discrimination and retaliation with the Equal

     Employment Opportunity Commission (“EEOC”) and Florida Commission on Human

     Relations (“FCHR”) alleging discrimination and retaliation by Defendants based on his

     race and national origin, in violation of Title VII and FCRA.

            15.      On September 20, 2016, the EEOC issued Plaintiff a Dismissal and Notice

     of Right to Sue against Defendant with regard to this matter. A copy of the Right to Sue

     letter is attached as EXHIBIT A.

            16.      Plaintiff filed his initial complaint within the applicable period of limitations.

               17.     All conditions precedent to this action have been satisfied and/or waived.

                                    FACTUAL BACKGROUND

            18.      Plaintiff was employed by Defendants as a full time security officer

     beginning on or about September 2011.

            19.      In 2009, ICE awarded Doyon Akal JV with a five-year $140 million

     contract to provide detention officers and other services at the Krome Service Processing

     Center in Miami, which is an ICE detention facility.



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               20.      Under the agreement, Doyon owned 51 percent of the joint venture, and

     Akal owned 49 percent of the joint venture.

               21.      During his employment with Defendants, Plaintiff served as an Armed

     Transportation Officer/Trainer.        Plaintiff’s responsibilities included transporting and

     maintain care and custody of high-level detainees at the Krome Service Processing

     Center.

               22.      Throughout the duration of his employment, Plaintiff was discriminated

     against, harassed, and made to endure a hostile work environment because of his race,

     ancestry, national origin and/or ethnic characteristics.

               23.      Plaintiff objected to the race/ancestry and national origin-based

     discrimination on numerous occasions, which includes, but is not limited to, the

     following:

               a. On March 16, 2012, Plaintiff submitted a written complaint to Defendants’

                     management regarding “racial slurring and harassment,” where he indicated

                     that two officers called him a “white cracker,” a “chicko,” and indicated that

                     he found this misconduct “highly discriminatory and offensive to [him] as a

                     Latino person.” The next day, on March 17, 2012, Defendants retaliated

                     against Abeijon and took him off the schedule, and transferred him to work on

                     the X-Ray machines for the day, where he never previously worked.

               b. On November 16, 2012, Plaintiff submitted a written complaint to his

                     immediate supervisor regarding the “racial slurring” and complained of

                     “continuous racial slurring I as a Latino officer have been exposed to,” which

                     includes “being called a “white ass cracker” by other employees of



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                  Defendants. According to protocol, this complaint was forwarded to Captain

                  Antoinece Beard. However, Defendants did not investigate this complaint of

                  discrimination, and nothing was done to resolve the illegal discrimination.

            c. On January 17, 2013, Plaintiff submitted a written complaint of discrimination

                  to Captain Antoinece Beard, Project Manager Michelle Jones, and Human

                  Resource Generalist Karen Sinanan regarding the “continued harassment” he

                  was made to endure by Officer Thompson, whose discrimination included

                  Officer Thompson “continue[d] to harass [Plaintiff] and specifically call[ed]

                  [him] ‘chico’ and whispers white cracker to [him] when he walks by.”

                  Plaintiff objected and advised Defendants that “as a Latino officer, I find it

                  extremely offensive and hostile, I have reported this in the past please help.”

            d. On February 12, 2013, Plaintiff submitted a written complaint to Captain

                  Beard, Project Manager Jones, and Human Resource Generalist Sinanan

                  regarding the “racial slurring” and indicated that an Officer Jackson made a

                  “racial remark” towards him and said that “you damn Chicos are rushing me,”

                  and indicated that he finds this statement offensive.

            e. On March 24, 2013, Plaintiff submitted a written complaint to his immediate

                  supervisor, Julio Santiago, who relayed it to Captain Beard. The complaint

                  indicated that he was afraid for his safety as Officer Jackson, who he

                  previously submitted discrimination complaints against, threatened him.

            24.      Nothing was done to rectify the illegal discrimination and/or hostile work

     environment Plaintiff was made to endure and objected to on numerous occasions.

            25.      In May 2013, after reporting several instances of discrimination, Plaintiff



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     was involuntarily transferred to transportation by Lieutenant McCullough.

            26.     On July 5, 2013, Plaintiff complained of discrimination based on “racial

     slurring” to Defendants’ supervisor in writing, and referenced that fact that he submitted

     “several memo’s regarding the racial slurring, this continues still today and no letters or

     memos have been put out about this” and indicated that “other officers are not treated the

     same way.”

            27.     On July 9, 2013, an incident that took place that required Plaintiff to use

     force on a detainee.

            28.     Shortly thereafter, Defendants placed Plaintiff on “Administrative Leave”

     without pay, pending the outcome of an investigatory review conducted by Defendants

     and ICE.

            29.     Plaintiff was wrongfully terminated from employment on August 6, 2013,

     in retaliation to his previous discrimination complaints and based on Defendants’ illegal

     discrimination.

            30.     Defendants’ purported reason for terminating Plaintiff is due to an alleged

     violation of the use of force policy on an incident that occurred on July 9, 2013.

            31.     Several African-American officers were also involved in the July 9, 2013

     incident, and also placed their hands on the subject detainee.

            32.     However, the African-American officers were not required to submit

     memorandums and/or use of force statements in relation to the July 9, 2013 incident.

            33.     It is a required standard for Defendants to document/submit use of force

     incidents by end of the work shift.

            34.     ICE investigated the incident involving Plaintiff from July 9, 2013.



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              35.    According to ICE General Post Order # 5, “officers may use force and/or

     apply restraints when behavior constitutes an immediate, serious threat to the detainee,

     staff. . .”

              36.    ICE found that Plaintiff did not violate the excessive use of force policy.

              37.    The detainee was immediately placed in the Special Housing Unit for

     assaulting Plaintiff after this incident.

              38.    Defendants would not have placed the detainee in the Special Housing

     Unit for assaulting Plaintiff unless they determined that the detainee assaulted Plaintiff.

              39.    Plaintiff’s immediate supervisor admitted that Plaintiff used “reasonable

     and necessary use of force” with respect to the July 9, 2013 incident.

              40.    In fact, two other officers admitted that they needed to and did assist

     Plaintiff in restraining this detainee, saw the detainee slap Plaintiff’s hand, and even

     called “officer needs assistance!” over the radio.

              41.    Defendants’ policy indicates that “[a]fter completion of the probationary

     period, no employee shall be dismissed or suspended without cause. Just cause shall

     include any action or order of removal of an employee from working under the contract

     by the U.S. Government, or revocation of required credentials by the ICE.”

              42.    Plaintiff was not removed by the U.S. Government, and ICE did not

     revoke his credentials.

              43.    All written incident reports made by officers actually present on the scene

     at the July 9, 2013 incident confirm that Plaintiff used reasonable and necessary force.

              44.    Plaintiff was treated differently and worse than employees outside his

     protected group.



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             45.      Defendants, through the actions more specifically alleged above, affected

     Plaintiff in a “term, condition or privilege” of his employment as envisioned by § 703 of

     Title VII, 42 U.S.C. § 2000e-2 and 42 U.S.C. § 1981.

             46.      Defendants’ conduct was intentional, reckless, extreme, and outrageous

     and far exceeded the bounds of society’s expectations of decency and resulted in a severe

     and pervasive hostile work environment.

             47.      The treatment to which Defendants, through its employees, subjected

     Plaintiff to was based on his:

                      (a) being of Cuban national origin; and/or

                      (b) being of Hispanic race and ancestry; and/or

                      (c) engaging in protected activity; particularly, complaining to his

                          supervisors, who also witnessed firsthand, the harassment he endured

                          in his workplace based on his national origin, race, and/or ancestry.

                                 COUNT I:
            FCRA CLAIM FOR RACE/NATIONAL ORIGIN DISCRIMINATION
                        AGAINST AKAL SECURITY, INC.

             48.      Plaintiff realleges and adopts the allegations contained in paragraphs 1-47 as

      if fully set forth in this Count.

             49.   The acts of Akal, by and through its agents and employees, violated Plaintiff’s

     rights against discrimination based on national origin, race, and/or ancestry under Florida

     Civil Rights Act, Fla. Stat. Chapter 760.

             50.   The discrimination/harassment and hostile work environment to which

     Plaintiff was subjected, was based on his national origin, race, and/or ancestry, and violated

     Plaintiff’s rights under Florida Civil Rights Act, Fla. Stat. Chapter 760.



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             51.   The conduct of Akal and its agents and employees proximately, directly, and

     foreseeably injured Plaintiff, including, but not limited to, emotional pain and suffering,

     humiliation, inconvenience, mental anguish, loss of enjoyment of life, and other non-

     pecuniary losses.

             52.   The conduct of Akal was so willful and wanton, and in such reckless disregard

     of the statutory rights of Plaintiff, as to entitle him to an award of punitive damages against

     Akal, to deter it, and others, from such conduct in the future.

             53.   Plaintiff is entitled to recover reasonable attorneys’ fees and litigation expenses

     pursuant to Fla. Stat. § 760.11(5).

             54.   Plaintiff has no plain, adequate or complete remedy at law for the actions of

     Akal, which have caused, and continue to cause, irreparable harm.

                            REQUEST FOR RELIEF AS TO COUNT I

             WHEREFORE, Plaintiff prays that this Court will:

             55.   Issue a declaratory judgment that the discrimination against Plaintiff by

     Akal was a violation of Plaintiff’s rights under the FCRA;

             56.   Enjoin Akal and its agents from continuing to violate Plaintiff’s rights under

     the FCRA;

             57.   Grant Plaintiff a judgment against Akal for damages, including back pay,

     front pay, compensatory damages and punitive damages;

             58.   Award Plaintiff his reasonable attorneys’ fees and litigation expenses

     against Akal pursuant to Fla. Stat. § 760.11(5); and

             59.   Provide any additional relief that this Court deems just.




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                                      COUNT II:
                             FCRA CLAIM FOR RETALIATION
                        AGAINST DEFENDANT AKAL SECURITY, INC.

              60. Plaintiff realleges and adopts the allegations contained in paragraphs 1-47, as if

     fully set forth in this Count.

             61.   The acts of Akal, by and through its agents and employees, violated Plaintiff’s

     rights against discrimination based on national origin, race, and/or ancestry under the

     Florida Civil Rights Act, Fla. Stat. Chapter 760.

             62.   Plaintiff objected to Akal’s discrimination.

             63.   Akal retaliated against Plaintiff and terminated his employment.

             64.   Akal’s retaliatory misconduct and hostile work environment violated

     Plaintiff’s rights under Florida Civil Rights Act, Fla. Stat. Chapter 760.

             65.   The conduct of Akal and its agents and employees proximately, directly, and

     foreseeably injured Plaintiff, including, but not limited to, lost wages, emotional pain and

     suffering, humiliation, inconvenience, mental anguish, loss of enjoyment of life, and other

     non-pecuniary losses.

             66.   The conduct of Akal was so willful and wanton, and in such reckless disregard

     of the statutory rights of Plaintiff, as to entitle him to an award of punitive damages against

     Akal, to deter it, and others, from such conduct in the future.

             67.   Plaintiff is entitled to recover reasonable attorneys’ fees and litigation expenses

     pursuant to Fla. Stat. § 760.11(5).

             68.   Plaintiff has no plain, adequate or complete remedy at law for the actions of

     Akal which have caused, and continue to cause, irreparable harm.



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                            REQUEST FOR RELIEF AS TO COUNT II

             WHEREFORE, Plaintiff prays that this Court will:

             69.   Issue a declaratory judgment that the adverse employment actions taken

     against Plaintiff by Akal were in violation of Plaintiff’s rights under the FCRA;

             70.   Enjoin Akal and its agents from continuing to violate Plaintiff’s rights under

     the FCRA, and requiring that Akal make Plaintiff whole for the losses suffered as a result

     of Akal’s retaliatory misconduct through an award of compensatory damages that

     includes, but is not limited to, his back pay and front pay;

             71.   Grant Plaintiff a judgment against Akal for damages, including punitive

     damages;

             72.   Award Plaintiff his reasonable attorneys’ fees and litigation expenses

     against Akal pursuant to Fla. Stat. § 760.11(5); and

             73.   Provide any additional relief that this Court deems just.

                                 COUNT III:
            FCRA CLAIM FOR RACE/NATIONAL ORIGIN DISCRIMINATION
               AGAINST DOYON GOVERNMENT CONTRACTING, INC

             74.   Plaintiff realleges and adopts the allegations contained in paragraphs 1-47 as if

     fully set forth in this Count.

             75.   The acts of Doyon, by and through its agents and employees, violated

     Plaintiff’s rights against discrimination based on national origin, race, and/or ancestry under

     Florida Civil Rights Act, Fla. Stat. Chapter 760.

             76.   The discrimination/harassment and hostile work environment to which

     Plaintiff was subjected, was based on his national origin, race, and/or ancestry, and violated

     Plaintiff’s rights under Florida Civil Rights Act, Fla. Stat. Chapter 760.



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            77.   The conduct of Doyon and its agents and employees proximately, directly, and

     foreseeably injured Plaintiff, including, but not limited to, emotional pain and suffering,

     humiliation, inconvenience, mental anguish, loss of enjoyment of life, and other non-

     pecuniary losses.

            78.   The conduct of Doyon was so willful and wanton, and in such reckless

     disregard of the statutory rights of Plaintiff, as to entitle him to an award of punitive

     damages against Doyon, to deter it, and others, from such conduct in the future.

            79.   Plaintiff is entitled to recover reasonable attorneys’ fees and litigation expenses

     pursuant to Fla. Stat. § 760.11(5).

            80.   Plaintiff has no plain, adequate or complete remedy at law for the actions of

     Doyon, which have caused, and continue to cause, irreparable harm.

                          REQUEST FOR RELIEF AS TO COUNT III

            WHEREFORE, Plaintiff prays that this Court will:

            81.   Issue a declaratory judgment that the discrimination against Plaintiff by

     Doyon was a violation of Plaintiff’s rights under the FCRA;

            82.   Enjoin Doyon and its agents from continuing to violate Plaintiff’s rights

     under the FCRA;

            83.   Grant Plaintiff a judgment against Doyon for damages, including back pay,

     front pay, compensatory damages and punitive damages;

            84.   Award Plaintiff his reasonable attorneys’ fees and litigation expenses

     against Doyon pursuant to Fla. Stat. § 760.11(5); and

            85.   Provide any additional relief that this Court deems just.




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                                  COUNT IV:
                FCRA CLAIM FOR RETALIATION AGAINST DEFENDANT,
                     DOYON GOVERNMENT CONTRACTING, INC.

              86. Plaintiff realleges and adopts the allegations contained in paragraphs 1-47, as if

     fully set forth in this Count.

             87.   The acts of Doyon, by and through its agents and employees, violated

     Plaintiff’s rights against discrimination based on national origin, race, and/or ancestry under

     the Florida Civil Rights Act, Fla. Stat. Chapter 760.

             88.   Plaintiff objected to Doyon’s discrimination.

             89.   Doyon retaliated against Plaintiff and terminated his employment.

             90.   Doyon’s retaliatory misconduct and hostile work environment violated

     Plaintiff’s rights under Florida Civil Rights Act, Fla. Stat. Chapter 760.

             91.   The conduct of Doyon and its agents and employees proximately, directly, and

     foreseeably injured Plaintiff, including, but not limited to, lost wages, emotional pain and

     suffering, humiliation, inconvenience, mental anguish, loss of enjoyment of life, and other

     non-pecuniary losses.

             92.   The conduct of Doyon was so willful and wanton, and in such reckless

     disregard of the statutory rights of Plaintiff, as to entitle him to an award of punitive

     damages against Doyon, to deter it, and others, from such conduct in the future.

             93.   Plaintiff is entitled to recover reasonable attorneys’ fees and litigation expenses

     pursuant to Fla. Stat. § 760.11(5).

             94.   Plaintiff has no plain, adequate or complete remedy at law for the actions of

     Doyon which have caused, and continue to cause, irreparable harm.



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                            REQUEST FOR RELIEF AS TO COUNT IV

             WHEREFORE, Plaintiff prays that this Court will:

             95.    Issue a declaratory judgment that the adverse employment actions taken

     against Plaintiff by Doyon were in violation of Plaintiff’s rights under the FCRA;

             96.    Enjoin Doyon and its agents from continuing to violate Plaintiff’s rights

     under the FCRA, and requiring that Doyon make Plaintiff whole for the losses suffered as

     a result of Doyon’s retaliatory misconduct through an award of compensatory damages

     that includes, but is not limited to, his back pay and front pay;

             97.    Grant Plaintiff a judgment against Doyon for damages, including punitive

     damages;

             98.    Award Plaintiff his reasonable attorneys’ fees and litigation expenses

     against Doyon pursuant to Fla. Stat. § 760.11(5); and

             99.    Provide any additional relief that this Court deems just.

                                         COUNT V:
                       TITLE VII CLAIM FOR DISCRIMINATION AGAINST
                             DEFENDANT, AKAL SECURITY, INC.

             100.     Plaintiff realleges and adopts the allegations contained in paragraphs 1 - 47

     as if fully set forth in this Count.

             101.     The acts of Akal, by and through its agents and employees, violated

     Plaintiff’s rights against race and national origin discrimination/harassment under Title VII

     of the Civil Rights Act of 1964, as amended. 42 U.S.C. § 2000e et seq.

             102.     The discrimination/harassment to which Plaintiff was subjected to was based

     on his race and national origin.

             103.     The conduct of Akal and its agents and employees proximately, directly, and



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     foreseeably injured Plaintiff, including, but not limited to, lost wages and benefits, future

     pecuniary losses, emotional pain and suffering, humiliation, inconvenience, mental anguish,

     loss of enjoyment of life, and other non-pecuniary losses.

            104.    The conduct of Akal was so willful and wanton, and in such reckless

     disregard of the statutory rights of Plaintiff, as to entitle him to an award of punitive

     damages against Akal, to deter it, and others, from such conduct in the future.

            105.    Plaintiff is entitled to recover reasonable attorneys’ fees and litigation

     expenses pursuant to 42 U.S.C. § 2000e-5(k).

            106.    Plaintiff has no plain, adequate or complete remedy at law for the actions

     of Akal, which have caused, and continue to cause, irreparable harm.

                           REQUEST FOR RELIEF AS TO COUNT V

            WHEREFORE, Plaintiff prays that this Court will:

            107.    Issue a declaratory judgment that the discrimination against Plaintiff by

     Akal was a violation of Plaintiff’s rights under Title VII;

            108.    Enjoin Akal and its agents from continuing to violate Plaintiff’s rights

     under Title VII, and requiring that Akal make Plaintiff whole for his losses suffered as a

     result of the discrimination through reinstatement, or, if that is not practical, through an

     award of back pay and front pay;

            109.    Grant Plaintiff a judgment against Akal for damages, including

     compensatory damages which includes damages from lost wages and emotional pain and

     suffering, and punitive damages;

            110.    Award Plaintiff his reasonable attorneys’ fees and litigation expenses

     against Akal pursuant to 42 U.S.C. § 2000e-5(k); and



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             111.     Provide any additional relief that this Court deems just.

                                       COUNT VI:
                       TITLE VII CLAIM FOR RETALIATION AGAINST
                            DEFENDANT AKAL SECURITY, INC.


             112.     Plaintiffs reallege and adopt the allegations contained in paragraphs 1 - 47 as

     if fully set forth in this Count.

             113.     The acts of Akal, through its agents and employees, violated Plaintiff’s rights

     against race and national origin discrimination/harassment under Title VII of the Civil

     Rights Act of 1964, as amended. 42 U.S.C. § 2000e et seq.

             114.     Plaintiff objected to Akal’s conduct.

             115.     Akal retaliated against Plaintiff in their treatment of Plaintiff and, ultimately,

     terminated Plaintiff's employment because of his objection to Akal’s unlawful conduct.

             116.     Akal’s harassment of Plaintiff and termination of his employment was

     discriminatory and/or retaliatory in nature.

             117.     This retaliatory misconduct violated Plaintiff’s rights under Title VII of the

     Civil Rights Act of 1964, as amended. 42 U.S.C. § 2000e et seq.

             118.     The conduct of Akal and its agents and employees proximately, directly, and

     foreseeably injured Plaintiff, including, but not limited to, lost wages and benefits, future

     pecuniary losses, emotional pain and suffering, humiliation, inconvenience, mental anguish,

     loss of enjoyment of life, and other non-pecuniary losses.

             119.     The conduct of Akal was so willful and wanton, and in such reckless

     disregard of the statutory rights of Plaintiff, as to entitle him to an award of punitive

     damages against Akal, to deter it, and others, from such conduct in the future.

             120.     Plaintiff is entitled to recover reasonable attorneys’ fees and litigation

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     expenses pursuant to 42 U.S.C. § 2000e-5(k).

             121.     Plaintiff has no plain, adequate or complete remedy at law for the actions

     of Akal, which have caused, and continue to cause, irreparable harm.

                            REQUEST FOR RELIEF AS TO COUNT VI

             WHEREFORE, Plaintiff prays that this Court will:

             122.     Issue a declaratory judgment that the adverse employment action taken

     against Plaintiff by Akal was a violation of Plaintiff’s rights under Title VII;

             123.     Enjoin Akal and its agents from continuing to violate Plaintiff’s rights

     under Title VII, and requiring that Akal make Plaintiff whole for his losses suffered as a

     result of its retaliatory discharge through reinstatement, or, if that is not practical, through

     an award of front pay and back pay;

             124.     Grant Plaintiff a judgment against Akal for damages, including

     compensatory damages, which includes compensation for lost wages and for emotional

     pain and suffering, and punitive damages;

             125.     Award Plaintiff his reasonable attorneys’ fees and litigation expenses

     against Akal pursuant to 42 U.S.C. § 2000e-5(k); and

             126.     Provide any additional relief that this Court deems just.

                                              COUNT VII:

             42 U.S.C. § 1981 RACE/ANCESTRY DISCRIMINATION AGAINST
                            DEFENDANT AKAL SECURITY, INC.

             127.     Plaintiff realleges and adopts the allegations contained in paragraphs 1-47, as

     if fully set forth in this Count.

             128.     The actions of Akal as alleged above had the purpose and effect of denying

     Plaintiff the same right to make and enforce contracts as is enjoyed by non-white citizens, in

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     violation of plaintiff’s rights under 42 U.S.C. § 1981.

            129.    The actions of Akal alleged above were intentionally and purposefully

     done to Plaintiff because of his race/ancestry, and resulted in a discriminatory hostile

     work environment and lost wages.

            130.    As a direct, natural, proximate and foreseeable result of Akal’s actions,

     Plaintiff also has suffered past and future pecuniary losses, emotional pain and suffering,

     inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary losses.

            131.    The actions of Akal are in willful and wonton disregard of the rights of

     Plaintiff so as to entitle Plaintiff to an award of punitive damages against Akal to punish

     it for its conduct and to deter it and others from such conduct in the future.

            132.    Plaintiff is entitled to recover reasonable attorneys’ fees and litigation

     expenses pursuant to 42 U.S.C. § 1988.

            133.    Plaintiff, having been discriminated against by Akal, has suffered

     irreparable harm for which there is no plain, adequate or complete remedy at law.

                          REQUEST FOR RELIEF AS TO COUNT VII

            WHEREFORE, Plaintiff prays that this Court will:

            134.    Issue a declaratory judgment that Akal practices toward Plaintiff violated

     Plaintiff’s rights under 42 U.S.C. § 1981;

            135.    Enter a judgment for Plaintiff and against Akal for damages, including but

     not limited to compensatory damages, back pay, lost earnings, punitive damages, and

     damages to compensate Plaintiff for his emotional pain and suffering, and reinstatement

     and/or front pay;

            136.    Grant Plaintiff his costs and reasonable attorneys’ fees pursuant to 42



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     U.S.C. § 1988;

             137.     Grant Plaintiff such other and future relief as the circumstances and law

     provide.

                                             COUNT VIII:

                42 U.S.C. § 1981 RACE/ANCESTRY RETALIATION AGAINST
                             DEFENDANT AKAL SECURITY, INC.

             138.     Plaintiff realleges and adopts the allegations contained in paragraphs 1-47, as

     if fully set forth in this Count.

             139.     The acts of Akal, through its employees, as more particularly alleged above,

     including Plaintiff’s termination, violated Plaintiff’s rights against retaliation under 42

     U.S.C. § 1981, which retaliation is implicitly proscribed by § 1981, for opposing what he

     reasonably believed to be discrimination based on race/ancestry.

             140.     As a direct, natural, proximate and foreseeable result of the actions of

     Akal, Plaintiff has suffered injuries for which he is entitled to compensation, including,

     but not limited to, future pecuniary losses, emotional pain, suffering, inconvenience,

     mental anguish, loss of enjoyment of life, and other non-pecuniary losses.

             141.     The conduct of Akal was so willful and wanton, and performed with

     malice or reckless indifference to the statutory rights of Plaintiff, as to entitle him to an

     award of exemplary/punitive damages against Akal, to deter them, and others, from such

     conduct in the future.

             142.     Plaintiff has no plain, adequate, or complete remedy at law for the actions

     of Akal, which have caused, and continue to cause, irreparable harm.

             143.     Plaintiff is entitled, pursuant to 42 U.S.C. § 1988, to recover his attorneys’

     fees and litigation expenses.

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                           REQUEST FOR RELIEF AS TO COUNT VIII

             WHEREFORE, Plaintiff prays that this Court will:

             144.     Issue a declaratory judgment that Akal practices toward Plaintiff violated

     Plaintiff’s rights under 42 U.S.C. § 1981;

             145.     Enter a judgment for Plaintiff and against Akal for damages, including but

     not limited to compensatory damages, back pay, lost earnings and benefits, punitive

     damages, lost earnings, damages to compensate Plaintiff for his emotional pain and

     suffering, and reinstatement and/or front pay;

             146.     Grant Plaintiff his costs and reasonable attorneys’ fees pursuant to 42

     U.S.C. § 1988; and

             147.     Grant Plaintiff such other and further relief as the circumstances and law

     provide.

                                    COUNT IX
            TITLE VII CLAIM FOR DISCRIMINATION AGAINST DEFENDANT,
                     DOYON GOVERNMENT CONTRACTING, INC.

             148.     Plaintiff realleges and adopts the allegations contained in paragraphs 1 – 47

     as if fully set forth in this Count.

             149.     The acts of Doyon, by and through its agents and employees, violated

     Plaintiff’s rights against national origin discrimination/harassment under Title VII of the

     Civil Rights Act of 1964, as amended. 42 U.S.C. § 2000e et seq.

             150.     The discrimination/harassment to which Plaintiff was subjected to was based

     on his race and national origin.

             151.     The conduct of Doyon and its agents and employees proximately, directly,

     and foreseeably injured Plaintiff, including, but not limited to, lost wages and benefits,



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     future pecuniary losses, emotional pain and suffering, humiliation, inconvenience, mental

     anguish, loss of enjoyment of life, and other non-pecuniary losses.

            152.    The conduct of Doyon was so willful and wanton, and in such reckless

     disregard of the statutory rights of Plaintiff, as to entitle him to an award of punitive

     damages against Doyon, to deter it, and others, from such conduct in the future.

            153.    Plaintiff is entitled to recover reasonable attorneys’ fees and litigation

     expenses pursuant to 42 U.S.C. § 2000e-5(k).

            154.    Plaintiff has no plain, adequate or complete remedy at law for the actions

     of Doyon, which have caused, and continue to cause, irreparable harm.

                          REQUEST FOR RELIEF AS TO COUNT IX

            WHEREFORE, Plaintiff prays that this Court will:

            155.    Issue a declaratory judgment that the discrimination against Plaintiff by

     Doyon was a violation of Plaintiff’s rights under Title VII;

            156.    Enjoin Doyon and its agents from continuing to violate Plaintiff’s rights

     under Title VII, and requiring that Doyon make Plaintiff whole for his losses suffered as

     a result of the discrimination through reinstatement, or, if that is not practical, through an

     award of back pay and front pay;

            157.    Grant Plaintiff a judgment against Doyon for damages, including

     compensatory damages which includes damages from lost wages and emotional pain and

     suffering, and punitive damages;

            158.    Award Plaintiff his reasonable attorneys’ fees and litigation expenses

     against Doyon pursuant to 42 U.S.C. § 2000e-5(k); and

            159.    Provide any additional relief that this Court deems just.



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                                    COUNT X
              TITLE VII CLAIM FOR RETALIATION AGAINST DEFENDANT
                     DOYON GOVERNMENT CONTRACTING, INC.

             160.     Plaintiffs realleges and adopts the allegations contained in paragraphs 1 - 47

     as if fully set forth in this Count.

             161.     The acts of Doyon, by and through its agents and employees, violated

     Plaintiff’s rights against race and national origin discrimination/harassment under Title VII

     of the Civil Rights Act of 1964, as amended. 42 U.S.C. § 2000e et seq.

             162.     Plaintiff objected to Doyon’s conduct.

             163.     Doyon retaliated against Plaintiff in their treatment of Plaintiff and,

     ultimately, terminated Plaintiff’s employment because of his objection to Doyon’s unlawful

     conduct.

             164.     Doyon’s harassment of Plaintiff and termination of his employment was

     discriminatory and/or retaliatory in nature.

             165.     This retaliatory misconduct violated Plaintiff’s rights under Title VII of the

     Civil Rights Act of 1964, as amended. 42 U.S.C. § 2000e et seq.

             166.     The conduct of Doyon and its agents and employees proximately, directly,

     and foreseeably injured Plaintiff, including, but not limited to, lost wages and benefits,

     future pecuniary losses, emotional pain and suffering, humiliation, inconvenience, mental

     anguish, loss of enjoyment of life, and other non-pecuniary losses.

             167.     The conduct of Doyon was so willful and wanton, and in such reckless

     disregard of the statutory rights of Plaintiff, as to entitle him to an award of punitive

     damages against Doyon, to deter it, and others, from such conduct in the future.

             168.     Plaintiff is entitled to recover reasonable attorneys’ fees and litigation



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     expenses pursuant to 42 U.S.C. § 2000e-5(k).

             169.     Plaintiff has no plain, adequate or complete remedy at law for the actions

     of Doyon, which have caused, and continue to cause, irreparable harm.

                            REQUEST FOR RELIEF AS TO COUNT X

             WHEREFORE, Plaintiff prays that this Court will:

             170.     Issue a declaratory judgment that the adverse employment action taken

     against Plaintiff by Doyon was a violation of Plaintiff’s rights under Title VII;

             171.     Enjoin Doyon and its agents from continuing to violate Plaintiff’s rights

     under Title VII, and requiring that Doyon make Plaintiff whole for his losses suffered as

     a result of its retaliatory discharge through reinstatement, or, if that is not practical,

     through an award of front pay and back pay;

             172.     Grant Plaintiff a judgment against Doyon for damages, including

     compensatory damages, which includes compensation for lost wages and for emotional

     pain and suffering, and punitive damages;

             173.     Award Plaintiff his reasonable attorneys’ fees and litigation expenses

     against Akal pursuant to 42 U.S.C. § 2000e-5(k); and

             174.     Provide any additional relief that this Court deems just.

                                               COUNT XI

             42 U.S.C. § 1981 RACE/ ANCESTRY DISCRIMINATION AGAINST
               DEFENDANT, DOYON GOVERNMENT CONTRACTING, INC.

             175.     Plaintiff realleges and adopts the allegations contained in paragraphs 1-47, as

     if fully set forth in this Count.

             176.     The actions of Doyon as alleged above had the purpose and effect of denying

     Plaintiff the same right to make and enforce contracts as is enjoyed by non-white citizens, in

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     violation of plaintiff’s rights under 42 U.S.C. § 1981.

            177.    The actions of Doyon alleged above were intentionally and purposefully

     done to Plaintiff because of his race/ancestry, and resulted in a discriminatory hostile

     work environment and lost wages.

            178.    As a direct, natural, proximate and foreseeable result of Doyon’s actions,

     Plaintiff also has suffered past and future pecuniary losses, emotional pain and suffering,

     inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary losses.

            179.    The actions of Doyon are in willful and wonton disregard of the rights of

     Plaintiff so as to entitle Plaintiff to an award of punitive damages against Doyon to

     punish it for its conduct and to deter it and others from such conduct in the future.

            180.    Plaintiff is entitled to recover reasonable attorneys’ fees and litigation

     expenses pursuant to 42 U.S.C. § 1988.

            181.    Plaintiff, having been discriminated against by Doyon, has suffered

     irreparable harm for which there is no plain, adequate or complete remedy at law.

                          REQUEST FOR RELIEF AS TO COUNT XI

            WHEREFORE, Plaintiff prays that this Court will:

            182.    Issue a declaratory judgment that Doyon practices toward Plaintiff

     violated Plaintiff’s rights under 42 U.S.C. § 1981;

            183.    Enter a judgment for Plaintiff and against Doyon for damages, including

     but not limited to compensatory damages, back pay, lost earnings, punitive damages, and

     damages to compensate Plaintiff for his emotional pain and suffering, and reinstatement

     and/or front pay;

            184.    Grant Plaintiff his costs and reasonable attorneys’ fees pursuant to 42



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     U.S.C. § 1988;

             185.     Grant Plaintiff such other and future relief as the circumstances and law

     provide.

                                              COUNT XII

                42 U.S.C. § 1981 RACE/ANCESTRY RETALIATION AGAINST
                DEFENDANT, DOYON GOVERNMENT CONTRACTING, INC.

             186.     Plaintiff realleges and adopts the allegations contained in paragraphs 1-47, as

     if fully set forth in this Count.

             187.     The acts of Doyon, through its employees, as more particularly alleged

     above, including Plaintiff’s termination, violated Plaintiff’s rights against retaliation under

     42 U.S.C. § 1981, which retaliation is implicitly proscribed by § 1981, for opposing what

     he reasonably believed to be discrimination based on race/ancestry.

             188.     As a direct, natural, proximate and foreseeable result of the actions of

     Akal, Plaintiff has suffered injuries for which he is entitled to compensation, including,

     but not limited to, future pecuniary losses, emotional pain, suffering, inconvenience,

     mental anguish, loss of enjoyment of life, and other non-pecuniary losses.

             189.     The conduct of Doyon was so willful and wanton, and performed with

     malice or reckless indifference to the statutory rights of Plaintiff, as to entitle him to an

     award of exemplary/punitive damages against Doyon, to deter them, and others, from

     such conduct in the future.

             190.     Plaintiff has no plain, adequate, or complete remedy at law for the actions

     of Akal, which have caused, and continue to cause, irreparable harm.

             191.     Plaintiff is entitled, pursuant to 42 U.S.C. § 1988, to recover his attorneys’

     fees and litigation expenses.

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                          REQUEST FOR RELIEF AS TO COUNT XII

            WHEREFORE, Plaintiff prays that this Court will:

            192.    Issue a declaratory judgment that Doyon practices toward Plaintiff

     violated Plaintiff’s rights under 42 U.S.C. § 1981;

            193.    Enter a judgment for Plaintiff and against Doyon for damages, including

     but not limited to compensatory damages, back pay, lost earnings and benefits, punitive

     damages, lost earnings, damages to compensate Plaintiff for his emotional pain and

     suffering, and reinstatement and/or front pay;

            194.    Grant Plaintiff his costs and reasonable attorneys’ fees pursuant to 42

     U.S.C. § 1988; and

            195.    Grant Plaintiff such other and further relief as the circumstances and law

     provide.

                                  DEMAND FOR JURY TRIAL

            Abeijon hereby demands a trial by jury on all issues so triable.

     Respectfully submitted this 19th day of December, 2016.

                                                   Respectfully submitted,


                                                   ___/s/ Michael N. Hanna____________
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